             Case: 4:11-cv-00418-NAB Doc. #: 3 Filed: 03/08/11 Page: 1 of 1 PageID #: 16
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Eastern District
                                             __________  DistrictofofMissouri
                                                                      __________


      DAVID MURPHEY and JESSICA MURPHEY                        )
                             Plaintiff                         )
                                v.                             )      Case No.
      ENHANCED RECOVERY COMPANY, LLC.                          )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          DAVID MURPHEY and JESSICA MURPHEY                                                                            .


Date:          03/07/2011                                                                 s/Larry P. Smith
                                                                                          Attorney’s signature


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